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     7   Clifford A. Rosen, MD and Ronald A. Christensen, MD.
     8                           UNITED STATES DISTRICT COURT
     9                         CENTRAL DISTRICT OF CALIFORNIA
   10
   11 CLIFFORD A. ROSEN, an individual;                 Case No. 8:20-cv-01973 JLS (DFMx)
   12 RONALD A. CHRISTENSEN, an                         PLAINTIFFS CLIFFORD A.
      individual
   13                                                   ROSEN AND RONALD A.
                    Plaintiff,
                                                        CHRISTENSEN'S REPLY IN
   14          vs.                                      SUPPORT OF MOTION TO
   15 URBAN COMMONS, LLC, a                             ENFORCE THE SETTLEMENT
      Delaware Limited Liability Company;               AGREEMENT
   16 URBAN COMMONS 6TH AVE
      SEATTLE, LLC, a Delaware Limited                  DATE: May 5, 2023
   17 Liability Company; URBAN                          TIME: 10:30 a.m.
      COMMONS BATTERY PARK, LLC,                        CTRM: 8A
   18 a Delaware Limited Liability Company;             JUDGE: Hon. Josephine L. Staton
      CHICAGO ANALYTIC TRADING
   19 COMPANY, LLC, d/b/a
      LITTLERIVER CAPITAL, LLC, a
   20 Delaware Limited Liability Company;
      DIGITAL CAPITAL MARKETS, LLC,
   21 a Maryland Limited Liability Company;
      TAYLOR WOODS, an individual;
   22 HOWARD WU, an individual; C.
      BRIAN EGNATZ, an individual; and
   23 DOES 1 through 10, inclusive
   24                        Defendants
   25
   26
   27
   28
             PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
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     1                MEMORANDUM OF POINTS AND AUTHORITIES
     2
     3                                               I.
     4                                     INTRODUCTION
     5               Plaintiffs Clifford A. Rosen (“Dr. Rosen”) and Ronald A. Christensen
     6 (“Dr. Christensen”, and, together with Dr. Rosen, “Plaintiffs”) respectfully request
     7 the Court enforce the Settlement Agreement as set forth in their moving papers. In
     8 their Opposition (Docket No. 326) Defendants Howard Wu (“Wu”) and Brian
     9 Egnatz (“Egnatz”) ask this Court to ignore their counsel’s written confirmation they
   10 agreed to the material terms of the settlement agreement, specifically the stipulated
   11 judgment. Wu and Egnatz also ask this Court to ignore that following their
   12 confirmation of agreement to the settlement terms, it was counsel for Wu and
   13 Egnatz who drafted and filed the Notice of Settlement.
   14                Conveniently, Wu and Egnatz also ignore and fail to address the
   15 authority submitted by Plaintiffs’ finding this Court has authority to enforce
   16 settlement agreements reached in principle and confirmed by their counsel in email
   17 correspondence. Gamble v. Synchrony Bank (C.D. Cal., May 15, 2020, No.
   18 EDCV191229JGBSPX) 2020 WL 12991563, at *3 (finding the e-mails created an
   19 enforceable settlement agreement between the parties’ counsel). Instead, Wu and
   20 Egnatz rely entirely on California Code of Civil Procedure section 664.6 in
   21 contending this Court does not have the power to enforce the settlement agreement
   22 here. Their reliance is misplaced as “compliance with section 664.6 is not the only
   23 way to establish an enforceable settlement agreement. For one, federal courts have
   24 inherent equitable power to enforce settlement agreements.” Id. at 5.
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     1                  Indeed, nothing in the Wu and Egnatz Opposition or supporting
     2 declarations support their position that the parties did not agree on the settlement
     3 agreement. They concede that a long-form agreement (with material terms) had
     4 been previously executed. In fact, the only key additional material provision that
     5 had to be addressed was whether a stipulated judgment would be agreed to by all
     6 Defendants in response to this Court’s Order. (Docket No. 306.) They agreed.
     7 They confirmed this in an email. Then their counsel drafted and filed the Notice of
     8 Settlement. Simply put, Egnatz, Wu, Jason Birt 1 and Taylor Woods agreed to a
     9 stipulated judgment. They cannot now claim otherwise.
   10                   That Wu and Egnatz had a change of heart after agreeing to the
   11 stipulated judgment does not change the fact that—but for their confirmation of that
   12 material term—the parties would not have submitted a Notice of Settlement and
   13 would have instead appeared for the Final Status Conference (“FSC”) on February
   14 24, 2023. Plaintiffs relied on their written confirmation and the Notice of Settlement
   15 in agreeing to jointly submit the Notice of Settlement.
   16                   The District Court has the equitable power to summarily enforce
   17 settlement agreements in pending cases. Callie v. Near, 829 F.2d 888, 890 (9th Cir.
   18 1987). Consequently, Plaintiffs respectfully request that the Court find the
   19 settlement is fair, adequate, and reasonable, and enforce the parties' February 23,
   20 2023 agreement. In the alternative, Plaintiffs respectfully request the Court reset the
   21 Final Status Conference as soon as the Court is available.
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       Birt’s Joinder in the Opposition should be stricken in its entirety as it is entirely
   26 based on unfounded hearsay. Counsel is testifying without properly laying
      foundation or setting forth how he has personal knowledge of the facts alleged in
   27 same. (Docket No. 327.)
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             PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
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     1                                              II.
     2                                  LEGAL ARGUMENT
     3               The parties negotiated a valid and enforceable settlement agreement on
     4 February 23, 2023. Egnatz acknowledges this throughout his opposition.
     5               “[The parties] “believed that a final, more definite settlement was
     6        reached.” [Docket No. 326, Opposition at p. 2, lns. 17-18].
     7               “Egnatz represented that the parties had reached settlement….”
     8        [Id., at p. 2, ln. 21.]
     9               “Counsel for the Defendants believed that a new deal had been
   10         struck….” [Id., at p. 3, ln. 13.]
   11                Egnatz, citing to Callie v. Near, 829 F.2d 888, 890 (9th Cir.
   12 1987), recognizes in his Opposition that a district court has equitable power to
   13 summarily enforce an agreement to settle. [Docket No. 326, Opposition at p.
   14 4, lns. 1-5.] Yet, Egnatz then solely relies on California Code of Civil
   15 Procedure Section 664.6 in arguing that because the litigants did not sign the
   16 agreement personally or stipulate orally before the Court, the agreement is
   17 unenforceable. [Docket No. 326, Opposition at p. 6, lns. 6-7, 23-26; p. 7, lns.
   18 13-20.]
   19                Defendant “is correct that compliance with section 664.6 is one
   20 way to establish an enforceable settlement agreement …. However,
   21 compliance with section 664.6 is not the only way to establish an enforceable
   22 settlement agreement.” Gamble, supra, 2020 WL 12991563, at *5. Plaintiffs
   23 relied on Gamble in their moving papers [Docket No. 321, Motion at p. 8, lns.
   24 6-16], yet, not surprisingly, Egnatz, in his Opposition, completely ignores this
   25 case and the principles cited therein. While acknowledging the Court has
   26 equitable power to enforce the settlement agreement, Egnatz solely analyzes
   27 California Code of Civil Procedure 664.6, implicitly implying this is the only
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          PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
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     1 means through which the Court can exercise its equitable powers. This is
     2 wrong.
     3 A.       The District Court Can Rely On Federal Law In Enforcing A Settlement
     4          Agreement.
     5          California Code of Civil Procedure Section 664.6 “creates an alternative
     6 procedure for the enforcement of certain settlement agreements, but does
     7 not replace other means of enforcing a settlement contract.” Walter v. W. Indus. Inc.,
     8 No. SACV131503JLSANX, 2015 WL 12765552, at *2 (C.D. Cal. Mar. 25, 2015).
     9 Section 664.6 “appears to do nothing more than provide a streamlined method for
   10 reducing a settlement to judgment.” Kilpatrick v. Beebe, 219 Cal.App.3d 1527, 1529
   11 (1990). Even if there is not compliance with Section 664.6 because “no writing was
   12 signed by the parties and no settlement was entered into orally before the Court[,]
   13 pursuant to its equitable powers, the Court may still enforce a complete settlement
   14 entered into by the parties. Walter, supra, 2015 WL 12765552, at *2, citing Callie,
   15 supra, 829 F.2d at 890.
   16           In exercising its equitable powers, the Court can rely on federal law.
   17 McCovey v. Pacific Lumber Co., 1992 WL 228888 *3 (N.D. Cal 1992) ("As the
   18 Court has subject matter jurisdiction over this case due to the presence of federal
   19 questions, the enforceability of a settlement must be determined by reference to
   20 federal law."); see also Taylor v. Gordon Flesch Co., 793 F.2d 858 (7th Cir. 1986)
   21 (explaining that federal law governs the enforceability of settlements in Title VII
   22 actions, another federal statute) (citing Lyles v. Commercial Lovelace Motors
   23 Freight, Inc., 684 F.2d 501, 504 (7th Cir. 1982)).
   24           Under federal law, “[e]ven without a signed writing, an enforceable
   25 settlement is established so long as the moving party demonstrates that the parties
   26 intended to be bound in the absence of a fully executed agreement.” Gamble, supra,
   27 2020 WL 12991563, at *6.
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     1 Such intent can be manifested through counsel. Marks-Foreman v. Reporter Pub.
     2 Co., 12 F. Supp. 2d 1089, 1092 (S.D. Cal. 1988) (citing Harrop v. Western Airlines,
     3 Inc., 550 F.2d 1143, 1144-45 (9th Cir.1977)); Alipio v. Secretary of Army, No. 94-
     4 00224, 1998 WL 231021, at *3 (N.D. Cal. May 1, 1998). Federal law does not
     5 require an attorney to have any written authority to enter into a settlement; such
     6 authority need be apparent only. Mid-south Towing Co. v. Har-win, Inc., 733 F.2d
     7 386, 391 (5th Cir. 1984). Therefore, a settlement agreement may be enforced
     8 against a party even if that party has not signed the agreement when the party's
     9 attorney had actual, implied, or apparent authority to enter into the settlement. See
   10 Greater Kansas City Laborers Pension Fund v. Paramount Indus., Inc., 829 F.2d
   11 644, 646 (8th Cir. 1987). The party who claims that his/her counsel could not enter
   12 into the settlement has a heavy burden to prove that lack of authorization. Id.
   13          Egnatz does not argue that his counsel lacked authority to settle the dispute
   14 nor does he argue that his counsel did not settle the dispute. [Docket No. 326,
   15 Opposition at p. 2, lns. 17-18, 21; p. 3, ln. 13.] As such, this Court can and should
   16 apply federal law to enforce the parties’ settlement agreement.
   17 B.       The Settlement Agreement Is Enforceable Under California Law.
   18          1.     Email Communications Between Counsel Can Bind Parties Under
   19                 California Law.
   20          In Gamble, supra, the case relied on by Plaintiffs in their moving papers and
   21 ignored by Egnatz in his Opposition, the district court explained that “even
   22 assuming state law applies rather than the Court’s equitable powers, the parties
   23 clearly manifested an intent to be bound by the settlement agreement.” 2020 WL
   24 12991563, at *5. As the Gamble court explained, email communications, without a
   25 signed written agreement, can create a binding settlement agreement under
   26 California law, finding that “under California law, Trans Union has submitted
   27 sufficient evidence that the parties “’intended to be bound [ ] in the absence of a
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     1 fully executed agreement.’ Karubian, 2018 WL 10517183, at *5 (C.D. Cal. Oct. 17,
     2 2018) (internal quotations omitted); see also Joao Control & Monitoring Sys., 2012
     3 WL 13018363, at *2 (finding sufficient intent to be bound where attorneys acting
     4 with authorization agreed to unsigned settlement via e-mail); J.B.B. Inv. Partners
     5 Ltd. v. Fair, 37 Cal. App. 5th 1, 11 (2019), as modified (July 1, 2019), review
     6 denied (Oct. 9, 2019) (finding that “[t]he plain language of [e-mails between the
     7 parties' attorneys] demonstrate[d], as a matter of law, the existence of a settlement
     8 agreement between the parties” despite unsigned nature of the agreement).” Gamble,
     9 supra, 2020 WL 12991563, at *5.
   10          Thus, even if this Court relied on state law rather than the Court’s equitable
   11 powers, powers that Egnatz has conceded the Court has, the settlement agreement is
   12 still enforceable. [Docket No. 326, Opposition at p. 3, lns. 3-13.]
   13          As noted, the Opposition erroneously relies on a faulty implicit assumption
   14 that the settlement agreement can be enforced only under California Code of Civil
   15 Procedure 664.6. Egnatz solely relies on cases analyzing California Code of Civil
   16 Procedure 664.6 and even mischaracterizes those cases.
   17          Indeed, Egnatz, under a section entitled “The Parties Could Not Agree
   18 Through Counsel,” relies on one case and states that “[t]he court in Carcamo
   19 recognized that under Cal. Code Civ. Proc. § 664, the agreement must be either
   20 signed and in writing by the parties made outside the presence of the court, or orally
   21 before the court for the court.” [Docket No. 326, Opposition at p. 7, lns. 17-20.] Yet,
   22 this is not what the court said in Carcamo. In fact, the district court, citing to
   23 Marks-Foreman v. Reporter Pub. Co., 12 F.Supp.2d 1089, 1092 (S.D. Cal. 1988), a
   24 case relied on by Plaintiffs in their motion [Docket No. 321, Motion at p. 7 lns. 24-
   25 26], explained that “the parties ‘must have either agreed to the terms of the
   26 settlement or authorized their respective counsel to settle the dispute.” Carcamo v.
   27 Vacation Interval Realty Inc.,2014 WL 12576802, at *2 (C.D. Cal. Aug. 19, 2014),
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           PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
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     1 emphasis added. Thus, while Egnatz’s header in the Opposition is that the parties
     2 cannot agree to settle through their counsel, the one case relied on by Egnatz in the
     3 section holds exactly the opposite.
     4          Further, the settlement agreement in Carcamo, reached at a court ordered
     5 settlement conference, was enforced under Section 664.6, but of course the court did
     6 not say that Section 664.6 was the only means to enforce a settlement agreement. Id.
     7 at *3.
     8          Similarly, Egnatz’s reliance on Finney v. Ford Motor Co., 2018 WL 5879730,
     9 at *1 (N.D. Cal. Nov. 7, 2018) is also misplaced, because the court was interpreting
   10 a settlement agreement reached at a mediation which included a Section 664.6
   11 enforceability provision.
   12           In sum—the law is crystal-clear—counsel can bind parties to settlement
   13 agreements if counsel was authorized by their client to settle the dispute. That was
   14 the case here and this has not been disputed.
   15           2.    The Settlement Agreement Was Complete.
   16           The only argument, unrelated to the faulty reliance on Section 664.6, appears
   17 in two conclusory sentences. In arguing that the settlement agreement was not
   18 complete, Egnatz states: “In this case the parties were still negotiating the final
   19 terms of the settlement agreement when the deal fell apart. The settlement
   20 agreement provided for default provisions which were unacceptable to a number of
   21 the Defendants.” [Docket No. 326, Opposition at p. 8, lns. 5-7.] Egnatz does not
   22 identify the mysterious “final terms” that were being negotiated or even state that
   23 the agreement reached was incomplete nor does he contend that his counsel did not
   24 have authority to enter the agreement nor does he even contend that he did not
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          PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
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     1 intend to be bound by it when it was consummated. Any such contentions would be
     2 belied by other portions of the Opposition.
     3               “[The parties] “believed that a final, more definite settlement was
     4        reached.” [Docket No. 326, Opposition at p. 2, lns. 17-18].
     5               “Egnatz represented that the parties had reached settlement….”
     6        [Id., at p. 2, ln. 21.]
     7               “Counsel for the Defendants believed that a new deal had been
     8        struck….” [Id., at p. 3, ln. 13.]
     9               While Egnatz, in his Opposition states that “Defendants do not
   10 completely agree” with Plaintiffs’ characterization that “Defendants had
   11 reneged on the agreed upon terms[,]” Egnatz then confirms that is exactly
   12 what happened by stating that after “[c]ounsel for the Defendants believed
   13 that a new deal had been struck” and “after the Notice of Settlement was
   14 filed[,]” Defendants realized and fully understood the implications of a
   15 Stipulated Judgment against them.” [Docket No. 326, Opposition at p. 3, lns.
   16 13, 17-18.].
   17         The terms of the settlement agreement were complete and included
   18 default provisions to provide for stipulated judgment as to all Defendants.
   19 Apparently, the agreed upon default provisions, upon further reflection, were
   20 unacceptable to some of the Defendants. Simply put, the Defendants reneged
   21 on the agreed upon terms of a complete agreement because they had cold feet.
   22 Needless to say, Egnatz does not cite any case law recognizing a cold-feet
   23 defense.
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  1         As such, the settlement agreement is enforceable under California law as an
  2 alternative basis.
  3                                               III.
  4                                        CONCLUSION
  5                Defendants and their counsel entered into a binding, valid, and
  6 enforceable settlement agreement on February 23, 2023. Defendants essentially
  7 concede to all the facts and simply rely on an erroneous premise that to be
  8 enforceable, the parties had to sign the agreement per California Code of Civil
  9 Procedure Section 664.6. However, Section 664.6 is not the exclusive means to
 10 enforce a settlement agreement. The Court has equitable powers and can apply
 11 federal law. Under federal law, the email agreement between counsel is enforceable.
 12 Even under California law, irrespective of Section 664.6, the email agreement
 13 between counsel is also enforceable. For the foregoing reasons, Plaintiffs
 14 respectfully request that this Court enforce and approve this settlement agreement.
 15 In the alternative, Plaintiffs respectfully request this Court reset the Final status
 16 Conference as soon as convenient for this Court.
 17
 18 DATED: April 21, 2023
 19                                   GARCIA RAINEY BLANK & BOWERBANK LLP
 20
 21                                   By        /s/ Norma V. Garcia
 22                                                        NORMA V. GARCIA
                                                           JEFFREY M. BLANK
 23
 24                                                      Attorneys for Plaintiffs
                                                  CLIFFORD A. ROSEN and RONALD A.
 25                                                         CHRISTENSEN
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 27
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  1                                   PROOF OF SERVICE
  2         I, Ashish Verma, state:
  3       I am employed in the County of Orange, State of California. My business
  4 address is 695 Town Center Drive, Suite 540, Costa Mesa, CA 92626. I am over
    the age of eighteen years and not a party to this action.
  5
  6       On April 21, 2023, I served true copies of the following document(s)
    described as PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A.
  7 CHRISTENSEN'S REPLY IN SUPPORT OF MOTION TO ENFORCE THE
  8 SETTLEMENT AGREEMENT on the interested parties in this action as follows:
  9         Eric Bensamochan
            Bensamochan Law Firm Inc
 10         9025 Wilshire Boulevard Suite 215
            Beverly Hills, CA 90211
 11         Email: eric@eblawfirm.us
            Counsel for Defendant C. Brian Egnatz
 12
 13        X BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
    filed the document(s) with the Clerk of the Court by using the CM/ECF system.
 14 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 15 be served by mail or by other means permitted by the court rules.
 16       I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office
 17 of a member of the bar of this Court at whose direction the service was made.
 18         Executed on April 21, 2023, at Lake Forest, California.
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                                                                 Ashish Verma
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        PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN'S REPLY ISO MOTION TO ENFORCE THE
                                         SETTLEMENT AGREEMENT
